Case 8:03-cr-00077-CEH-LSG Document 1192 Filed 06/07/05 Page 1 of 2 PageID 11311




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION
  UNITED STATES OF AMERICA

  v.                                                  Case No. 8:03-cr-77-T-30TBM

  SAMI AMIN AL-ARIAN, et al.
  ____________________________________

                                           ORDER

         This cause came on for consideration without oral argument upon Defendant Fariz’s

  Renewed Motion to Change Venue (Dkt. #1171). Defendant Fariz’s previous motions to

  transfer venue were denied on May 23, 2005, (Dkt. #1115) after voir dire was completed.

  Defendant Fariz has renewed his request based on various courthouse security measures that

  have been implemented in light of the high-profile nature of this case and the media coverage

  that has occurred since the completion of jury selection.

         Prior to commencement of opening arguments, the members of the jury and the

  alternate jurors were advised in open court that these additional security measures were

  implemented by the U.S. Marshal’s Service as a matter of routine for all high-profile cases.

  They also were advised that the decision to implement these barriers was made by the U.S.

  Marshal’s Service and not the Court. When asked about these additional security measures,

  none of the jurors indicated that these measures raised any concerns or would affect their

  ability to act fairly and impartially. The jurors were also asked whether they had read, heard

  or otherwise been exposed to media coverage since voir dire, and all of the jurors answered
Case 8:03-cr-00077-CEH-LSG Document 1192 Filed 06/07/05 Page 2 of 2 PageID 11312




  in the negative. Accordingly, Defendant Fariz’ Motion is without support and should be

  DENIED.

           It is therefore ORDERED and ADJUDGED that Defendant Fariz’s Renewed Motion

  to Change Venue (Dkt. #1171) is DENIED.

           DONE and ORDERED in Tampa, Florida on June 7, 2005.




  Copies furnished to:
  Counsel/Parties of Record
  United States Marshal
  S:\Odd\2003\AL-ARIAN\Renewed Motn Change Venue.wpd




                                                       Page 2 of 2
